                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF VIRGINIA
                           ABINGDON DIVISION

  ROBERT ADAIR, ON BEHALF OF                        )
  HIMSELF AND ALL OTHERS                            )
  SIMILARLY SITUATED,                               )
                                                    )
                   Plaintiff,                       )
                                                    )
  v.                                                )     Case No. 1:10CV00037
                                                    )
  EQT PRODUCTION COMPANY,                           )
                                                    )
                   Defendant.                       )

  __________________________________________________________________


  EVA MAE ADKINS, ON BEHALF OF                      )
  HERSELF AND ALL OTHERS                            )
  SIMILARLY SITUATED,                               )
                                                    )
                   Plaintiff,                       )
                                                    )
  v.                                                )     Case No. 1:10CV00041
                                                    )
  EQT PRODUCTION COMPANY,                           )
                                                    )
                   Defendant.                       )

  _____________________________________________________________________________________




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                                 OPINION AND ORDER

          Plaintiffs in these two related certified class actions have filed a joint Motion

  to Compel Production of Complete Class Lists and for Sanctions, which motion

  has been fully briefed and is ripe for decision.

          The court granted motions for class certification in the cases on March 29,

  2017, and an attempted interlocutory appeal by the defendant EQT Production

  Company (“EQT”) was declined by the court of appeals. The parties then engaged

  in lengthy settlement negotiations, during which further substantive proceedings in

  the cases were suspended. On April 18, 2018, at a status conference, it was

  conceded by the parties that further settlement efforts were fruitless, and thereafter

  the court granted an amendment to the Adair class definition and resolved disputes

  over the form of the necessary class notice in each case. Now another dispute has

  arisen as to the production of lists of class members to whom such notices will be

  sent.

          Plaintiffs contend that EQT has failed to provide it with accurate lists of the

  names and addresses of putative class members and has resisted doing so since the

  classes were certified in March of 2017, thus justifying sanctions. In summary, it

  is contended that the list provided in Adair is under represented and in Adkins, is

  over represented.      In response, EQT argues that the allegedly missing class

  members in Adair are not properly class members at all, and in Adkins, that the


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  over included list is (a) not harmful and (b) in any event can be revised as easily by

  plaintiffs at their cost.   I will take up the specific arguments in each case

  separately.

                                             Adair

        In the Adair case, the class definition was amended by extending the date to

  April 1, 2018, by which a gas claimant must have received a distribution from

  escrow as a result of a judicial determination of ownership or agreement. Order

  Granting Motion to Modify Class Definition, May 7, 2018, Case No.

  1:10CV00037, ECF No. 640. It was clear that the intent of this modification was

  to include in the class those class claimants involved in the 2017 settlement of a

  case in this court entitled Weyerhaeuser Co. v. Yellow Poplar Lumber Co., No.

  1:13CV00062, in which EQT was a party. EQT points out that while a party to

  Yellow Poplar, a successor in interest actually sought the distributions resulting

  from that court-approved settlement. However, I agree with class counsel that

  EQT is required to supplement the class list with those persons or entities who

  EQT identified to the Virginia Gas and Oil Board as gas claimants and who

  received distributions from escrow as a result of judicial determination of

  ownership or agreement not later than April 1, 2018, regardless of whether EQT

  applied for the distribution. That would certainly include any gas claimants in the

  Yellow Poplar case who meet those requirements. I do not find this to be a

  unreasonable hardship for EQT.
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                                            Adkins

        In Adkins, EQT has provided a list that admittedly includes lessors of gas

  interests who are not members of the class, because their leases expressly allow for

  the deduction of post-production costs.        EQT argues that it is equally as

  burdensome for the parties to review the individual leases and remove those where

  post-production costs are expressly allowed, and accordingly, if plaintiff wants to

  correct the over-inclusion, it should be her responsibility. The plaintiff responds

  that the class is defined with relation to the “business records maintained by EQT,”

  Order Granting Motion to Modify Class Definition, May 7, 2018, Case No.

  1:10CV0041, ECF No. 447, and thus the burden ought to be on the defendant.

        Considering all of the circumstances, and the history of the case, I find the

  plaintiff’s request reasonable, and will direct EQT to examine its business records

  and remove from the class list those lessors whose leases expressly allow for the

  deduction of post-production costs.

                                           Sanctions

        The plaintiffs seek monetary sanctions against EQT for its deficiencies in

  providing the class lists. While the present dispute has delayed final resolution of

  these cases, the cases have been pending far too long in any event, and fault for

  that delay overall falls on the court as well as the parties. EQT’s arguments here

  are not without merit and I find sanctions not to be appropriate.



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                                          Conclusion

        For the foregoing reasons, it is ORDERED that the Motions to Compel

  Production of Complete Class Lists and for Sanctions, Case No. 1:10CV00037,

  ECF No. 645, and Case No. 1:10CV00041, ECF No. 452, are GRANTED IN

  PART, and EQT must provide to class counsel corrected class lists, as described by

  the court herein, within 30 days of the date of entry of this Opinion and Order.



                                                 ENTER: July 30, 2018

                                                 /s/ James P. Jones
                                                 United States District Judge




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